Case 2:04-cv-02737-.]PI\/|-STA Document 9 Filed 05/03/05 Page 1 of 2 Page|D 219

L_

.r-‘::.En :';: \p¢a__ o.::.

UNITED sTATEs DISTRICT coURT W f)/ l _
wEsTERN DISTRICT oF TENNESSEEUS;'“"*‘ '~' P""Z'OB
WESTERN DIVISION nosefc'@‘w disoer

cL:s;:-'-w~:. :.'.fiz. nasa ch
W.P "'F T‘N. u~xE:\;.Pr-us

 

 

LEGRANT MORRIS, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
TIMOTHY R. KELLY, et al., CASE NO: 04-2737 Ml/An
Defendant.
JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with Plaintiff's Notice of Voluntary Dismissal, filed April 27,
2005, this case is DISMISSED.

APPROVED:

__ w m OM

JO P. MCCALLA
U TED STATES DISTRICT COURT

 

 

/v\f§§d '2l ybgf>' ?G?§ERTR.DlTFZCLEZE
Date<;) Clerk of Court

-,?/ [l/M

(By%j/De§b{y Clerkd

This document entered on the docket heat lngompl|anca -'
, »!»
Wnn mile 55 and/or 79(3) FHCP on 5 j CJ q

TATES DISTRICT OURT - WEDIRIT OF ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:04-CV-02737 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Richard B. Fields

LAW OFFICE OF RICHARD B. FIELDS
688 Jefferson Ave.

Memphis7 TN 38105--193

Honorable J on McCalla
US DISTRICT COURT

